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                     Exhibit 9
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        Infringement Claim Chart for U.S. Pat. No. US7269253B1 v. FLIR (“Defendant”)


   Claim 10                                               Evidence
10. A             The FLIR Customer Service performs a method for communicating in a communication
communication     network.
s method
comprising:       For Example, FLIR Customer Service performs a method of communicating by
                  establishing, over a communication network, a call between callers with a request to the
                  appropriate department for assistance.




                  Source: Service and Support | Teledyne FLIR
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  Source: Support : GSO Customer support central (flir.com)
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                  Source: Submit a ticket : GSO Customer support central (flir.com)


(a) receiving a   The Teledyne FLIR Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Teledyne FLIR Customer Service receives calls from multiple callers. For
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associated         each call, a user provides information about the nature of the call by selecting the
classification     appropriate department from the given choices via keypad entry. The responses are
information;       used to classify the call.




                   Source: Service and Support | Teledyne FLIR
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  Source: Support : GSO Customer support central (flir.com)
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  Source: Submit a ticket : GSO Customer support central (flir.com)
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                    Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)



(b) storing         The Teledyne FLIR Customer Service maintains information about potential targets that
information         includes support agents, departments, or specific resources capable of handling different
representing        types of inquiries.
characteristics
of at least three   For example, Teledyne FLIR Customer Service stores information about the skill set
potential           possessed by agents who are potential targets of the call. Teledyne FLIR employs
targets; and        numerous agents, at least three of which possess the skill set required by the call.
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  Source: Service and Support | Teledyne FLIR
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   Source: Support : GSO Customer support central (flir.com)
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   Source: Submit a ticket : GSO Customer support central (flir.com)
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                   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




(c) determining,   The Teledyne FLIR Customer Service determines an optimum target for each
in a               communication based on the communication classification and target characteristics
combinatorial      using a combinatorial optimization comparing at least three potential targets.
optimization, an
optimum target     For example, Teledyne FLIR Customer Service analyses the caller selection to determine
for each           one or more skills that a product expert or agent who is selected to receive the call
communication      should have in order to provide the caller with the requested assistance. The system
based on the       determines the potential agent based on the communication classification and performs
communication      automated calls using Teledyne CARIS Customer Services (i.e., a combinatorial
classification,    optimization).
and target
characteristics.
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   Source: Service and Support | Teledyne FLIR
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   Source: Support : GSO Customer support central (flir.com)
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   Source: Submit a ticket : GSO Customer support central (flir.com)
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   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




   Source: Tech Support Phone Lines (custhelp.com)
